Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 148-1 Filed: 04/01/22 Page: 1 of 2 PAGEID #: 4221

                          IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DISTRICT

      MICHAEL GONIDAKIS, ET AL.                   :    CASE NO. 2:22-CV-773
                                                  :
            PLAINTIFFS                            :    CHIEF JUDGE ALGENON L.
                                                  :    MARBLEY
      VS.                                         :
                                                  :    CIRCUIT JUDGE AMUL R.
      FRANK LAROSE,                               :    THAPAR
                                                  :
            DEFENDANTS.                           :    JUDGE BENJAMIN J. BEATON

                                        PROPOSED ORDER

               In accordance with the provisions of Federal Rules of Civil Procedure 65(b), it is

      hereby

               ORDERED, ADJUDGED AND DECREED, that pending a ruling on the Simon

      Parties’ Motion for a Preliminary Injunction, neither the Ohio Secretary of State nor any

      County Board of Elections from a county within the 6th Ohio United States Congressional

      District as Proposed in the Ohio Congressional Redistricting Plan approved by Defendants

      on March 2, 2022, or a Board of Elections within a Proposed Congressional District whose

      boundaries may be revised in the event the Simon Parties prevail on the merits at trial,

      shall issue certificates of nomination or election to any candidate for election as

      Representative to the United States House of Representatives.

               IT IS SO ORDERED.



                                                      ALGENON L. MARBLEY
                                                      CHIEF JUDGE
                                                      UNITED STATES DISTRICT JUDGE
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 148-1 Filed: 04/01/22 Page: 2 of 2 PAGEID #: 4222




                                            AMUL R. THAPAR
                                            UNITED STATES CIRCUIT JUDGE



                                            BENJAMIN J. BEATON
                                            UNITED STATES CIRCUIT JUDGE


      DATE: _________________




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